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1    MICHAEL CHASTAINE, State Bar #121209
     THE CHASTAINE LAW OFFICE
2    2377 Gold Meadow Way, Suite 100
     Gold River, CA 95670
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4    Attorneys for Defendant
5    Andre Walters

6
7
                           IN THE UNITED STATES DISTRICT COURT

8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA

9
                                                ) Case No.: 2:12-CR-375 TLN
10   UNITED STATES OF AMERICA,                  )
                                                ) STIPULATION AND ORDER
11                  Plaintiff,                  ) CONTINUING STATUS CONFERNCE
                                                )
12          v.                                  )
                                                )
13   ANDRE ANTONIO WALTERS, et al.,             )
                                                )
14                  Defendants.                 )
15
            Defendant Andre Walters, by and through his attorney, Michael Chastaine,
16
17   Kenneth Park. by and through his attorney Kelly Babineau, Gregory Martin by and
18   through his attorney Christopher Cosca, Michael Taylor, Sr. by and through his attorney
19
     Thomas Johnson, and Michael Taylor, Jr. by and through his attorney Tim Warriner, and
20
21   the United States, by and through Assistant United States Attorney Jared Dolan, hereby

22   stipulate and agree to continue the status hearing in the above-captioned case from
23
     Friday, April 26, 2013 at 9:00 a.m. to Thursday June 20, 2013 at 9:30 a.m. It is further
24
25   stipulated that the above referenced time period should be excluded from calculation

26   under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local rule T4.
27
28


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            The continuance is requested as a result of the case being reassigned from Judge
1
2    Garland E. Burrell, Jr. to Judge Troy L. Nunley and to allow counsel additional time to
3    review the large amount of discovery that has been provided. It is further stipulated that
4
     the need for a continuance outweighs the interests of the public and the defendant in a
5
6    speedy trial.
7
8
     Dated: April 25, 2013                     The CHASTAINE LAW OFFICE
9
10                                             By: ____/s/ Michael Chastaine
                                                     MICHAEL CHASTAINE
11                                                   Attorney for Andre Walters
12
13   Dated: April 25, 2013
14
                                               By: ____/s/ Kelly Babineau
15                                                   KELLY BABINEAU
16                                                   Attorney for Kenneth Parks

17
     Dated: April 25, 2013
18
19                                             By: ____/s/ Chris Cosca
                                                     CHRIS COSCA
20                                                   Attorney for Gregory Martin
21   Dated: April 25, 2013
22
                                               By: ____/s/ Tom Johnson
23                                                   TOM JOHNSON
                                                     Attorney for Michael Taylor, Sr.
24
     Dated: April 25, 2013
25
26                                             By: ____/s/ Tim Warriner
                                                     TIM WARRINER
27
                                                     Attorney for Michael Taylor, Jr.
28


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     Dated: April 25, 2013                     BENJAMIN B. WAGNER
1
                                               United States Attorney
2
                                               By: ___/s/ Jared Dolan
3                                                    JARED DOLAN
4                                                    Assistant U.S. Attorney
5
6
7                                   ORDER
            GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
8
9                  IT IS HEREBY ORDERED that the status conference scheduled for
10   Friday, April 26, 2013 at 9:00 a.m. be continued to Thursday, June 20, 2013 at 9:30 a.m.
11
     and that the period from April 26, 2013 to June 20, 2013 is excludable from calculation
12
13   under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A). It is further found

14   based upon stipulated that the need for a continuance outweighs the interests of the public
15
     and the defendant in a speedy trial.
16
17
18
19   Dated: April 29, 2013
20
21
22
23
                                            Troy L. Nunley
24                                          United States District Judge
25
26
27
28


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